                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-10
v.                                            )   Judge Sharp
                                              )
QUINICE CROSS                                 )
                                              )


                                         ORDER

      A hearing on a change of plea in this matter is hereby scheduled for Monday, July 29,

2013, at 1:30 p.m.

      IT IS SO ORDERED.



                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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